Case 3:16-md-02738-MAS-RLS        Document 32825        Filed 06/17/24      Page 1 of 2 PageID:
                                       187046



                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON TALCUM                 MDL NO. 2738 (FLW) (LHG)
   POWDER PRODUCTS MARKETING,
   SALES PRACTICES, AND PRODUCTS
   LIABILITY LITIGATION


   This document relates to:
   CAROL WADE AS ADMINSTRATOR OF
   THE ESTATE OF JOYCE A. WADE


   3:24-cv-7062


                                   NOTICE OF FILING

  Notice is hereby given pursuant to Case Management Order Nos. 2 and 8 that the Short Form
  Complaint and Jury Demand has been filed on June 17, 2024 on behalf of Carol Wade as
  Administrator of the Estate of Joyce A Wade.



  Dated: June 17, 2024                     Respectfully submitted,


                                                  /s/ Joelys Hernandez
                                                  Joelys Hernandez, Esq.
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Case 3:16-md-02738-MAS-RLS            Document 32825         Filed 06/17/24     Page 2 of 2 PageID:
                                           187047



                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 17, 2024, I electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF system which will send notification of such filing to the
  CM/ECF participants registered to receive services in this MDL.


  Dated: June 17, 2024
                                                       /s/ Joelys Hernandez
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